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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    :
                                             :
       v.                                    :       Case No. 22-cr-144-GMH
                                             :
RICHARD GUSTAVE OLSON, JR.                   :
                                             :       Judge G. Michael Harvey
                      Defendant.             :

             AMBASSADOR OLSON’S RESPONSE TO THE GOVERNMENT’S
            MOTION TO CONTINUE SENTENCING MEMORANDA DEADLINE

       Comes now Richard Gustave Olson, Jr., through counsel HANNON LAW GROUP, LLP,

and CLARK HILL, PLC, and respectfully presents this response to the Government’s Motion to

Continue Sentencing Memoranda Deadline. For the reasons set forth below, Ambassador Olson

takes no position on the government’s request.

       The government’s motion says nothing about the actual reason for its request for an

extension of time. Counsel for Amb. Olson appreciates the courtesies shown by government

counsel previously consenting to several continuances while he was in trial and dealing with a

family emergency. The government’s request for an extension is a request to which counsel

would ordinarily consent as a professional courtesy. The dilemma currently facing government

counsel of record is not entirely of their own making, as we explain herein.

       Amb. Olson and his counsel cooperated with the government and negotiated the final

plea agreement over a period of 16 months. The parties executed the Plea Agreement

(“Agreement”) on January 14, 2022. In the Agreement, Amb. Olson agreed to plead guilty to

two misdemeanors: making a false statement on his annual ethics report, an OGE Form 278, in

March of 2016 (18 U.S.C. § 1018); and, violating the one-year post-employment “Cooling Off

Period” by assisting others to lobby the Trump administration on behalf of Qatar in 2017 (18



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USC § 207(f)(1)(B)). Both statutes are ordinarily enforced through an agency’s administrative

process. 1

        In the Agreement, the government agreed that the Combined Offense Level for these

offenses is 8, before application of the -2 point downward departure for Acceptance of

Responsibility. These scores if adopted by the Court would permit a non-custodial sentence.

The U.S. Probation Officer who prepared the Final Presentence Investigation Report [PSR] sent

it to the Court and the Parties on December 30, 2022. The Draft PSR was sent to the Parties on

August 10, 2022. The PSR Writer’s calculation of the Total Offense Level in both the Draft and

Final PSR is 28, a number that astonished Amb. Olson’s counsel.

        The manner in which the PSR Writer reached this conclusion is part of the real reason the

government is now seeking a further 4-week continuance of the filing of sentencing memoranda.

The intellectual author of the full panoply of allegations against Amb. Olson – including those

presented to the PSR Writer – is Assistant United States Attorney Daniel J. O’Brien who works

in the Central District of California [CDCA]. His participation in this sentencing is somewhat


1    At the time of execution of the Plea Agreement, counsel for Ambassador Olson had found
only one case in which the government had indicted a public official with making a false
statement on an OGE Form 278. United States v. Saffarinia, 424 F. Supp. 3d 46 (D.D.C. 2020).
We found two cases involving its predecessor SF 278. United States v. Michael Espy, No. 97-
cr-335 (D.D.C., 1997); United States v. Ronald Blackley, No. 97-cr-155 (D.D.C., 1997). We also
located a case from the U.S. Attorney’s Office for the Central District of California, reported by
the U.S. Office of Government Ethics in its 2020 annual “Conflict of Interest Prosecution
Survey” of cases involving the conflict of interest statutes (18 U.S.C. §§ 202-209). That case
was resolved by the USAO for the Central District of California with a Non-Prosecution
Agreement and a fine.

     Counsel for Ambassador Olson also were unable to find any case charging an offense under
the Cooling Off Period statute (18 U.S.C. § 207(f)) in either the CDCA or the DDC. We also
found no reported case charging an offense under 18 U.S.C. § 207(f) in Westlaw or in our review
of the annual “Conflict of Interest Prosecution Survey” issued by the Office of Government
Ethics for the past 30 years. Counsel for Ambassador Olson reported this information to the
government shortly before the parties agreed to the final Plea Agreement.

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unusual because Mr. O’Brien has not entered his appearance in this case. It also appears that

government counsel Messrs. Evan N. Turgeon, attorney with the National Security Division of

the Department of Justice, and AUSA Stuart D. Allen have only recently become aware of the

contents of the PSR and some of the details of AUSA O’Brien’s participation in influencing the

PSR Writer.2

       We believe the assertions and conduct of AUSA O’Brien over time must be examined in

the course of considering the proper sentence and the Final PSR. Amb. Olson became a target of

AUSA O’Brien as early as 2019. AUSA O’Brien was conducting a Grand Jury investigation

into the lobbying and fund-raising activities of a Pakistani American, Imaad Shah Zuberi. On

October 22, 2019, the Department of Justice [DOJ] announced that Zuberi would plead guilty to

falsifying records and tax evasion in connection with his fund-raising for U.S. politicians from

every party and level of government. The DOJ Press Release stated that Zuberi funded his

corrupt endeavors by stealing money from his international clients through a variety of schemes.

(See DOJ Press Release, attached as Exhibit A). The DOJ Press Release recounts Zuberi’s high-

flying personal association with and contributions to presidents, members of congress, political

parties, and others.




2
    When Probation Officer Hana Field sent the draft PSR on August 10, 2022, we learned that
Paragraphs 17-54 were allegations by the government that were never shared with Amb. Olson’s
counsel and not contained in any agreed statement of facts underlying the plea. Counsel
contacted Ms. Field the same day. Ms. Field initially laughed and said she thought she would
hear from us, given the high offense level score. Ms. Field stated that she assumed – as is the
practice in this Court – that the government would have sent its contribution to the PSR to
counsel for Amb. Olson at the same time she received it. That did not occur. Counsel for Amb.
Olson only last week learned that Mr. O’Brien was solely responsible for providing this
information to the PSR Writer. However, both the Probation Office and Messrs. Turgeon and
Allen have refused our request to provide us with all of the information Mr. O’Brien provided to
the PSR Writer, including any oral communications and email.
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       Earlier in his investigation, AUSA O’Brien had come to view Amb. Olson as the key to

his prospective prosecution of retired United States Marine Corps four-star General John R.

Allen. Mr. O’Brien believed that Zuberi had retained Allen and Amb. Olson to unlawfully lobby

the Trump administration on behalf of Qatar. General Allen was the former commander of the

NATO International Security Assistance Force and U.S. Forces – Afghanistan (USFOR-A), and

later special envoy for President Obama for the Global Coalition to Counter ISIL (Islamic State

of Iraq and the Levant). In those capacities, he met Amb. Olson. At the time of O’Brien’s

investigation, General Allen was serving as the President of the Brookings Institution. Allen

now has resigned from Brookings because of international publicity generated by the leak of

secret grand jury material to the press from the CDCA Court on June 6, 2022. AUSA O’Brien

was responsible for maintaining the secrecy of that material, which was contained in a 64-page

affidavit in support of a search warrant O’Brien filed in that district on April 25, 2022.

       In pursuit of General Allen, AUSA O’Brien caused an FBI Agent to conduct a surprise

interview of Amb. Olson on July 17, 2019 and serve a subpoena for production of records and

email communications related to Zuberi and Allen. Amb. Olson complied with the subpoena

without feeling any need to obtain counsel. AUSA O’Brien then caused the FBI to conduct a

second interview on December 17, 2019, during which Amb. Olson asked if he was a target of an

investigation, to which the agents answered in the affirmative.

       After Zuberi pled guilty, O’Brien publicly accused Amb. Olson – whose identity was

poorly veiled by O’Brien – of a serious federal crime. On April 13, 2020, O’Brien publicly filed

in Zuberi’s case a “Response to Defendant’s [Zuberi] Objections to Presentence Report”. This

filing was well before Amb. Olson had obtained counsel and begun to cooperate with Mr.

O’Brien. Specifically, Mr. O’Brien alleged that “Person NN, the U.S. official stationed in



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Pakistan” and “the journalist with whom Person NN had a relationship” received undisclosed

payments “contemporaneous with Person NN providing assistance to Zuberi’s business.” Mr.

O’Brien specifically described such “undisclosed payments” as gratuities. Anyone following the

case recognized NN as Amb. Olson. The journalist referred to is Muna Habib, now married to

Amb. Olson. At the time of the “relationship” alleged by O’Brien, they were unmarried and

estranged after an earlier period of dating.3

       Alan Suderman, a reporter for the Associated Press, contacted Ms. Habib in 2020.

Suderman provided Ms. Habib with a screen-shot of a page of a pleading filed under seal by Mr.

O’Brien in the Zuberi case. The page identifies Amb. Olson and Ms. Habib by name as

beneficiaries in Zuberi’s alleged payment of a gratuity in the form of a partial tuition payment for

Ms. Habib’s graduate work at Columbia University. See Screenshot, attached as Exhibit B. At a

meeting with Ms. Habib, Suderman told her that his source for information was “someone inside

the DOJ.”

       On August 31, 2020, Amb. Olson’s counsel initiated his cooperation with AUSA

O’Brien, in which O’Brien explicitly identified General Allen as a target. Mr. O’Brien was



3
    DOJ policies strictly prohibit federal prosecutors from identifying and accusing an uncharged
third-party of wrong-doing or misconduct. Specifically, DOJ Manual 9-16.500 “Identifying
Uncharged Third-Parties During Plea and Sentencing Proceedings” states “[i]n the absence of
some significant justification, it is generally not appropriate for a Untied States Attorney to
identify (either by name or unnecessarily-specific description) or cause a defendant to identify, a
third-party wrongdoer unless that party has officially been charged with the misconduct at issue.
When referring to the uncharged third party, the use of non-generic descriptors, like a
person’s initials, is usually an unnecessarily-specific description and should not be used.”
(Emphasis added).

    Courts have specifically applied this reasoning to preclude the public identification of
unindicted third-party wrongdoers in sentencing memoranda and other governmental pleadings.
See Finn v. Schiller, 72 F.3d 1182 (4th Cir. 1996); United States v. Briggs, 513 F.2d 794 (5th
Cir. 1975); United States v. Anderson, 55 F. Supp. 2d 1163 (D. Kan 1999); United States v.
Smith, 992 F. Supp. 743 (D.N.J. 1998).
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particularly interested in Amb. Olson’s cooperation because Amb. Olson attended two meetings

among the Qatar royal family and General Allen in Qatar in June of 2017. Amb. Olson acted as

a scrivener at the meetings, from which the Qataris had expelled Zuberi. Amb. Olson’s

extensive notes are the only known record of what occurred in the meetings. These meetings

were a critical element of O’Brien’s potential case against General Allen, partially outlined in the

Statement of Offense in Amb. Olson’s Plea Agreement for Count 2.

       During initial debriefings , O’Brien threatened to indict Amb. Olson for violations of four

criminal statutes:4 Amb. Olson participated in four debriefing sessions with O’Brien and the FBI

for over 16 hours, and produced numerous pages of documents, notes, and calendars.

       On March 22, 2021, Amb. Olson’s counsel provided a 32-page rebuttal to O’Brien’s

allegations of criminal conduct by Amb. Olson and reminded AUSA O’Brien that the DOJ

Justice Manual prohibits indicting a public official for accepting a gratuity unless the official

personally received the gratuity. (See DOJ Justice Manual Section 2041, attached as Exhibit C).

Nevertheless, AUSA O’Brien has persisted in his theory and apparently convinced the PSR

Writer that Amb. Olson has accepted gratuities, and his purported acceptance of such gratuities is

“relevant conduct” under the Sentencing Guidelines. The PSR Writer’s adoption of O’Brien’s

argument has resulted in an increase in the Offense Level Score for Count 2 by at least 17 points.

The PSR Writer’s conclusion is patently absurd, as are her proposed upward departures, as we

will demonstrate in our Sentencing Memorandum and at the sentencing hearing. 5



4
    These were: 18 U.S.C. § 201(c)(1)(B) Receipt of a Gratuity by a Public Officials; 18 U.S.C.
§ 208(a) Acts Affecting a Personal Financial Interest; 18 U.S.C. § 207(f) Restrictions on Former
Officers, Employees, and Elected Officials of the Executive and Legislative Branches; and 18
U.S.C. § 1001(a) False Statements or Entries Generally.
5
   Simply by way of example, the PSR Writer increases the offense level for Count 2 – the
Cooling Off Period offense – because Amb. Olson was a “public official in a high-level decision-
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       Mr. O’Brien did not respond to Counsel’s March 21, 2021, Counter proffer until October

25, 2021. On that date, O’Brien required Amb. Olson and his counsel to travel to the DOJ to

meet with Attorney Evan S. Turgeon. At that meeting, Amb. Olson and his counsel were

provided with an unsigned memorandum, not on stationary of any office within the DOJ or the

U.S. Attorney’s Office, purportedly rebutting all claims of innocence. While counsel were

permitted to read the memorandum, they were forbidden from taking a copy with them. In

addition, Mr. Turgeon provided counsel with an unsigned plea offer letter. The plea offer

indicated Amb. Olson would be indicted on all but one of the charges outlined by AUSA

O’Brien in August of 2020, as well as additional counts of destruction of documents and false

statements. 6 In lieu of indictment on these charges in December, Amb. Olson was offered the

option of pleading to a felony and a misdemeanor, with the opportunity of a §5K departure for

assistance in the prospective prosecution of General Allen.

       After additional exchanges between the parties, the government sent a formal plea

agreement, on December 17, 2021, including the felony, misdemeanor, and cooperation

agreement leading to a potential §5K departure. Amb. Olson rejected any plea to a felony

offense. The parties finally executed the current Agreement on January 14, 2022, incorporating

the two misdemeanors. AUSA O’Brien then took the position that he would not agree to a

cooperation provision and potential §5K departure. His rationale was that somehow, over the

previous two weeks, he no longer considered Amb. Olson sufficiently credible to merit a

potential §5K departure motion. Nevertheless, he expressly stated that it was the goal of the


making or sensitive position.” Of course, Amb. Olson had already retired from the Department
of State at the time, and thus was no longer a public official.
6
   The government did agree there is no basis for prosecuting Amb. Olson for an ongoing
conflict of interest while serving as Amb. under 18 U.S.C. § 208(a). We will discuss the
implications of this concession for sentencing in our Sentencing Memorandum.
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government to fashion a plea agreement that would enable Amb. Olson to receive a non-

custodial sentence. While the cooperation agreement in the prosecution of General Allen was no

longer a part of the agreement, Mr. O’Brien held out the possibility of cooperation.

         After Mr. O’Brien was unable to achieve an important element of the Plea Agreement –

entering the plea in this district – and then threatened Amb. Olson with indictment for not

agreeing to an amendment of the Agreement, the Information was filed by AUSA O’Brien in

California without agreement from Amb. Olson. The Information was also filed by Mr. O’Brien

on the public record, predictably generating adverse publicity for both Amb. Olson and General

Allen.

         On June 7, 2022, Hannon was contacted by two reporters with prominent news

organizations, one of whom was Alan Suderman of the Associated Press. They both provided

Mr. Hannon with a CDCA Court file-stamped copy of the FBI Agent’s 64-page affidavit in

support of the search warrants filed by AUSA O’Brien in the CDCA District Court on April 25,

2022. The affidavit contained not only grand jury material enormously prejudicial to Amb.

Olson, but also accusations that General John R. Allen had engaged in lobbying the United

States on behalf of Qatar. The subsequent international press coverage reporting the contents of

the affidavit caused irreparable harm to both Amb. Olson and General Allen. Suderman’s story

can be found here: https://apnews.com/article/politics-us-news-think-tanks-nato-ap-top-

5c30827587d2295012549d5d65fc806e.

         Counsel for Amb. Olson then filed a motion to partially unseal the search warrants

application in the District Court for the Central District of California from which the affidavit

had been leaked. AUSA O’Brien opposed that motion. His opposition is attached as Exhibit D.

The Magistrate Judge granted Amb. Olson’s motion in part on October 28, 2022. (See Order



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attached as Exhibit E). On July 13, 2022, counsel for Amb. Olson filed a complaint regarding

AUSA O’Brien’s failure to protect the secrecy of grand jury material with the DOJ Office of

Professional Responsibility. Investigation into AUSA O’Brien’s role in the release of this

affidavit is continuing.

       After receiving the Draft PSR Report on August 10, 2022, counsel for Amb. Olson

attempted to engage in conversations with Messrs. Turgeon and Allen regarding what we viewed

as clearly erroneous conclusions by the PSR Writer, and that Amb. Olson also viewed as a

departure from the letter and intent of the Agreement. In essence, although the Agreement

provides for a non-custodial sentence, it is apparent that AUSA O’Brien is intent on seeing Amb.

Olson sent to prison.

       Mr. Turgeon and Mr. Allen refused to discuss the Draft PSR with counsel, telling them

simply to file their objections to the Draft PSR. Probation Officer Field also rebuffed our

attempts to discuss with her the erroneous conclusions she drew from Paragraphs 17-54, which

we now know AUSA O’Brien provided to her.

       Amb. Olson’s counsel sent their objections to the DRAFT PSR Report to Ms. Field,

noting that Paragraphs 17-54 are largely unproven, embellished assertions provided by AUSA

O’Brien that counsel were unable to review or contest before the August 10, 2022 Draft PSR was

delivered. The PSR Writer adopted these Paragraphs in whole, but she did not include a

recitation of the facts included in the Information to which Amb. Olson pled guilty. We argued

that the facts recited in the Information should be substituted for Paragraphs 17-54, which are

better left to the government’s Sentencing Memorandum or specifically identified contentions in

the PSR. In other words, the inclusion of Mr. O’Brien’s unproven allegations in these




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paragraphs, without attribution to him, presents a picture to the Court that the Probation Officer

herself adopted these paragraphs as uncontested facts.

       In her response to Amb. Olson’s objections to inclusion of the government’s Paragraphs

17-54, the PSR Writer wrote: “[T]he standard of proof is by a preponderance of the evidence –

this conduct [Paras. 17-54] need not be formally charged nor admitted to by the defendant.”

While this statement is not particularly objectionable, the PSR Writer fails to note that the

government must prove O’Brien’s assertions by a preponderance of evidence at a sentencing

hearing. Moreover, the Court must make factual findings on disputed facts to support an

increased offense level. United States v. Leyva, 916 F.3d 14, 24 (D.C. Cir.), cert. denied, 140

S. Ct. 413 (2019); United States v. Carter, 489 F.3d 528, 537-38 (2d Cir. 2007); United States v.

Seefried, 2022 WL 16528415, *11 (D.D.C. 2022) (McFadden, J.).

       The PSR Writer’s refusal to attribute these paragraphs to the government stands in

contrast with the information provided by Amb. Olson’s attorneys in Paragraph 57, which she

put in quotation marks and specifically attributed to his counsel.

       The PSR Writer’s reliance on the information provided by AUSA O’Brien has created a

potentially devastating and improper effect on the sentencing process. For example, for Count 2

the PSR Writer adds a total of 21 points over the base offense level of 6, accepting Mr. O’Brien’s

contention that the conduct he alleges in Paras. 17-54 of the Final PSR is conduct “relevant to the

offense of conviction” under §1B1.3(a)(1)(A). Count 2, the offense of conviction, is the

misdemeanor offense of Aiding and Assisting a Foreign Government during the one-year “Cooling

Off Period”. As the Plea Agreement states, Amb. Olson during his Cooling Off Period helped draft

a proposal that was sent to the Qatar government. As we will discuss in our Sentencing

Memorandum, none of the conduct alleged by AUSA O’Brien in Paras. 17-54 occurred during



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Amb. Olson’s violation of his Cooling Off Period, in preparation for that offense, or in the

course of attempting to avoid detection or responsibility for that offense, which is required by

§1B1.3(a)(1)(A) to constitute relevant conduct.

       The PSR Writer also maintains over our objections the following: the base offense level

for violation of the Cooling Off Period is 11 (¶ 69); the base offense level should be increased by

2 points because the offense involved “more than one gratuity” (¶ 70); the base offense level is

increased another 12 points because the “value of the gratuity” is $325,400 (¶ 71); and, another 4

points must be added because Amb. Olson was a “public official in a high-level decision-making

or sensitive position” (¶ 72).

       The PSR Writer’s response to our objections at Page 48 of the Final PSR is unhelpful:

       A response to the objection regarding gratuities has been previously addressed.
       Therefore, the report remains unchanged. Defense again states the plea agreement did
       not “allow the Government to rely upon cross references contained in the sentencing
       guidelines.” As previously stated, the Probation Office is not limited to the plea
       agreement in application of the guidelines.

Presumably, the reference to the previous comment regarding gratuities is a reference to the PSR

Writer’s Response to our objection to Paragraph 62 at Page 45 of the Final PSR. She also stated:

“Further, in preparation of the presentence report and conducting the analysis, the US Probation

Office contacted the US Sentencing Commission. The guidelines calculation in the presentence

report was calculated based on their response.”

       We now know that her reference to “the government” is a reference to AUSA O’Brien.

Upon noting the PSR Writer’s reliance on the U.S. Sentencing Commission, counsel for Amb.

Olson sent a letter to the Chief Probation Officer, the Supervisory Probation Officer and the PSR

Writer asking what information was obtained from the U.S. Sentencing Commission upon which

this decision was allegedly predicated. The Supervisory Probation Officer responded:



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       We are in receipt of your email and the attached letter. As stated, the defendant’s
       objections to the finalized presentence report have been addressed in the report’s
       addendum. Please note, if ordered to do so by Magistrate Judge Harvey, we will make
       any revisions to the report at the direction of the Court after sentencing.

       The error for adding 4 points to Count 2 for Amb. Olson allegedly being in a high level

decision-making position at the time was discussed above and is clearly erroneous. The

remaining increases for Count 2 are all based on the PSR Writer’s acceptance of O’Brien’s

continued contention that Amb. Olson received gratuities. These are described to the PSR Writer

by AUSA O’Brien as the following: (1) $25,000 in partial tuition paid by Zuberi to Columbia

University for Muna Habib; (2) a $400 limousine ride shared by Amb. Olson in the company of

Zuberi when Amb. Olson was at a speaking engagement in Los Angeles on behalf of the

Department of State; and, (3) a $300,000 job offer to Amb. Olson made by ADIH, which Amb.

Olson rejected. One need not be an expert in the Sentencing Guidelines to know that none of

this money was ever given to Amb. Olson, and the DOJ Justice Manual would not permit

charging Amb. Olson with receiving a gratuity for any of these alleged gratuities.

       Government counsel of record at page 1 of their Motion state the following: “defendant

Olson has objected to much of the factual narrative in the presentence report as well as many

aspects of the Sentencing Guidelines calculation. Responding to these extensive objections with

corresponding exhibits is a significant undertaking.” We wish to be clear that government

counsel rejected the opportunity to discuss these objections with Amb. Olson’s attorneys

immediately after the Draft PSR was issued on August 10, 2022. No doubt, they rejected this

opportunity because the task of influencing the PSR Writer had been left to AUSA O’Brien.

       When government counsel conferred with attorneys for Amb. Olson last week, counsel

for Amb. Olson again sought to discuss the obvious errors in the Final PSR. Counsel declined

and also refused to produce to us the information that AUSA O’Brien had provided to the PSR

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Writer. Obviously, only after the government filed the consent motion on January 6, 2023, did

government counsel realize the magnitude of the problem AUSA O’Brien had created for them.

       Counsel for Amb. Olson did not want to consent to the government’s motion without

making a record of AUSA’s O’Brien’s conduct that makes him unable to consent to the motion.

We hope that government counsel will use the additional time they have requested to at least

engage in dialogue with Amb. Olson’s attorneys regarding obvious errors in the Final PSR so the

Parties can narrow the issues the Court must decide.

Dated: January 13, 2023                     Respectfully submitted,

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           EXHIBIT A
8/31/2020            CaseFundraiser
                  Campaign 1:22-cr-00144-GMH               Document
                                    Agrees To Plead Guilty To               37 toFiled
                                                              Falsifying Records       01/13/23
                                                                                  Conceal              Page
                                                                                          Work as Foreign Agent,15  of 40
                                                                                                                 Evading Taxes on Income Obtai…


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        JUSTICE NEWS

                                                               Department of Justice

                                                                Office of Public Affairs


      FOR IMMEDIATE RELEASE                                                                                          Tuesday, October 22, 2019


       Campaign Fundraiser Agrees To Plead Guilty To Falsifying Records to Conceal Work
         as Foreign Agent, Evading Taxes on Income Obtained by Lobbying on Behalf of
                      Foreign Entities, and Illegal Campaign Contributions

      Federal prosecutors today filed a criminal case charging Imaad Shah Zuberi, a Southern California campaign
      fundraiser, with falsifying records to conceal his work as a foreign agent while lobbying high-level U.S. government
      officials. The criminal charges allege that Zuberi engaged in lobbying efforts that earned him millions of dollars, most of
      which was pilfered from his clients, and Zuberi has agreed to plead guilty to those charges at a later date, pursuant to a
      plea agreement.

      “This case should deter individuals who seek to provide false statements to the Department and covertly influence our
      political process on behalf of foreign governments,” said Assistant Attorney General of National Security John C.
      Demers. “Through misrepresentations in his FARA filing, Mr. Zuberi attempted to deceive our elected officials and the
      American public on behalf of Sri Lanka. The Department of Justice treats these crimes with the gravity that they
      deserve and will continue to aggressively identify, investigate and prosecute FARA violations.”

      “Mr. Zuberi’s multi-faceted scheme allowed him to line his pockets by concealing the fact that he was representing
      foreign clients, obtaining access for clients by making a long series of illegal contributions, and skimming money paid by
      his clients,” said United States Attorney Nick Hanna. “Mr. Zuberi circumvented laws designed to insulate U.S. policy and
      our election process from foreign intervention. This investigation has halted his illegal conduct, will result in several
      felony convictions, and could send him to prison for a lengthy period of time.”

      “American influence is not for sale,” said Paul Delacourt, the Assistant Director in Charge of the FBI’s Los Angeles Field
      Office. “Mr. Zuberi lured individuals who were seeking political influence in violation of U.S. law, and in the process,
      enriched himself by defrauding those with whom he interacted.”

      “Mr. Zuberi was the primary organizer of paid political efforts to mold the opinion of political officials, including members
      of Congress, to benefit Sri Lanka. Instead, he used shell business entities to divert millions of dollars for his own
      personal use,” stated Special Agent in Charge Ryan L. Korner of IRS Criminal Investigation’s Los Angeles Field Office.
      “Today's announcement of Mr. Zuberi’s anticipated guilty plea to tax and campaign finance violations demonstrates IRS-
      CI’s continued commitment to work alongside our federal law enforcement partners to ensure the system remains fair
      for everyone.”

      In addition to violating the Foreign Agents Registration Act (FARA), Zuberi is charged in a criminal information with tax
      evasion and making almost $1 million in illegal campaign contributions that included funneling money from foreign
      entities and individuals to influence U.S. elections.

      Zuberi, a 49-year-old resident of Arcadia, California, has agreed to plead guilty to the three counts in the information. A
      plea agreement also filed today in United States District Court notes that Zuberi faces a statutory maximum sentence of
      15 years in federal prison once he pleads guilty to the charges.


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      Zuberi, who operated a venture capital firm called Avenue Ventures, solicited foreign nationals and representatives of
      foreign governments with claims he could use his influence in Washington, D.C. to change United States foreign policy
      and create business opportunities for his clients and himself. According to court documents, clients gave Zuberi money
      for consulting fees, to make investments, or to fund campaign contributions. As part of his efforts to influence public
      policy, Zuberi hired lobbyists, retained public relations professionals and made campaign contributions – which gave
      him access to high-level U.S. officials, some of whom took action in support of his clients. As evidence of his access
      and influence, Zuberi distributed to his clients photographs of himself discussing policy with elected officials.

      While some U.S. officials were willing to take action on issues Zuberi put forward, most of Zuberi’s business efforts
      were unsuccessful and his clients suffered significant losses. Many of the lobbyists, public relations consultants, and
      other subcontractors also suffered losses when Zuberi refused to pay them, according to the information. Zuberi, on the
      other hand, became wealthy, primarily as the result of fraudulent representations about his background, influence, and
      the use of client funds, much of which constituted an “outright conversion of client money for defendant Zuberi’s own
      personal benefit,” the information states.

      The information details dozens of illegal campaign contributions – including those paid by Zuberi using the names of
      other people, “conduit contributions” made by others that Zuberi reimbursed, and contributions to U.S. political
      campaigns that were financed by foreign entities and individuals.

      The information further states that Zuberi accepted money from two foreign companies with promises that the funds
      would be used to contribute to political campaigns, but Zuberi took the vast majority of the money – more than $1.1
      million – for his own personal use.

      The information details other aspects of Zuberi’s scheme through which he personally profited. Zuberi mounted efforts
      to convince the government of Bahrain to lift sanctions on a citizen of Bahrain in connection with the development of a
      large resort in that country. The scheme falsely created the appearance that Avenue Ventures had made a major
      investment in the Bahrain project. Zuberi lobbied members of Congress to apply political pressure on Bahrain to cease
      its interference in the project, claiming that it was adversely affecting him as a U.S. investor. In fact, Zuberi designed
      these efforts to assist the citizen of Bahrain. Zuberi illegally received compensation for these efforts because he failed
      to register as a foreign agent of the Bahraini citizen.

      Zuberi also converted to his own benefit money invested in U.S. Cares, a company established to export humanitarian
      items to Iran, according to the information. In 2013 and 2014, investors put approximately $7 million into U.S. Cares,
      but Zuberi used over 90 percent of the investor funds for his personal benefit – to purchase real estate, pay down
      mortgages, remodel properties, invest in brokerage accounts, donate $250,000 to a non-profit organization established
      by a former high-ranking elected official, and pay down personal credit card debt, according to court documents.

      In 2014, Zuberi entered into a contract with the government of Sri Lanka to rehabilitate Sri Lanka’s image in the United
      States, which had suffered as a result of allegations of persecution of the country’s minority Tamil population. Zuberi
      promised to make substantial expenditures on lobbying efforts, legal expenses and media buys, which prompted Sri
      Lanka to agree to pay Zuberi a total of $8.5 million over the course of six months in 2014. According to court
      documents, days after Sri Lanka made an initial payment of $3.5 million, Zuberi transferred $1.6 million into his
      personal brokerage accounts and used another $1.5 million to purchase real estate.

      The information alleges that Sri Lanka wired a total of $6.5 million pursuant to the contract, and Zuberi directed more
      than $5.65 million of that money to the benefit of himself and his spouse. Zuberi paid less than $850,000 to lobbyists,
      public relations firms and law firms, and certain subcontractors did not receive full payment after Zuberi falsely claimed
      that Sri Lanka had not provided sufficient funds to pay invoices, according to the information.

      In relation to the FARA charge in the information, Zuberi agreed to plead guilty to submitting false registration
      statements in which he concealed his direction of the Sri Lanka lobbying effort, as well as the millions of dollars he
      received.

      In relation to the tax charge in the information, Zuberi agreed to plead guilty to one count of tax evasion for failing to
      report on his 2014 tax return millions of dollars in income he received from Sri Lanka. While the 2014 income tax return
      claimed income of $558,233, Zuberi failed to report more than $5.65 million he received in relation to the Sri Lanka

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      lobbying effort. Zuberi admits in his plea agreement that his tax evasion over the course of four years – 2012 through
      2015 – caused tax losses of at least $3.5 million and as much as $9.5 million.

      In relation to the campaign finance charge, Zuberi agreed to plead guilty to a charge of violating the Federal Election
      Campaign Act in 2015 by making conduit contributions in the names of other people, reimbursing contributions made by
      others, and being reimbursed for contributions he made. In his plea agreement, Zuberi admits that over a five-year
      period – 2012 through 2016 – he made or solicited more than $250,000 in illegal campaign contributions.

      Zuberi is expected to make his initial appearance in this case in United States District Court on October 30.

      This matter is being investigated by the FBI and IRS Criminal Investigation.

      This case is being prosecuted by Assistant United States Attorneys Daniel J. O’Brien and Elisa Fernandez of the Public
      Corruption and Civil Rights Section with support from the Counterintelligence and Export Control Section of the National
      Security Division.


      Attachment(s):
      Download Zuberi_Information
      Download Zuberi_Plea_Agreement

      Topic(s):
      Counterintelligence and Export Control
      National Security

      Component(s):
      National Security Division (NSD)
      USAO - California, Central

      Press Release Number:
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        2041. BRIBERY OF PUBLIC OFFICIALS

      Section 201 of Title 18 is entitled "Bribery of public officials and witnesses." The statute comprises two distinct offenses,
      however, and in common parlance only the first of these is true "bribery."

      The first offense, codified in section 201(b), prohibits the giving or accepting of anything of value to or by a public
      official, if the thing is given "with intent to influence" an official act, or if it is received by the official "in return for being
      influenced."

      The second offense, codified in section 201(c), concerns what are commonly known as "gratuities," although that word
      does not appear anywhere in the statute. Section 201(c) prohibits that same public official from accepting the same
      thing of value, if he does so "for or because of" any official act, and prohibits anyone from giving any such thing to him
      for such a reason.

      The specific subsections of the statute are:

      Bribery

             1. a. § 201(b)(1): offering a bribe to a public official
                b. § 201(b)(2): acceptance of a bribe by a public official

               Gratuities

               a. § 201(c)(1)(A): offering a gratuity to a public official

               b. § 201(c)(1)(B): acceptance of a gratuity by a public official.

      The two offenses differ in several respects. The most important of these differences concerns how close a connection
      there is between the giving (or receiving) of the thing of value, on the one hand, and the doing of the official act, on the
      other. If the connection is causally direct - if money was given essentially to purchase or ensure an official act, as a
      "quid pro quo" then the crime is bribery. If the connection is looser - if money was given after the fact, as "thanks" for an
      act but not in exchange for it, or if it was given with a nonspecific intent to "curry favor" with the public official to whom it
      was given -then it is a gratuity. The distinction is sometimes hard to see, but the statute makes it critical: a § 201(b)
      "bribe" conviction is punishable by up to 15 years in prison, while a § 201(c) "gratuity" conviction permits only a
      maximum 2-year sentence. In addition, with a "bribe" the payment may go to anyone or to anything and may include
      campaign contributions, while with a "gratuity" the payment must inure to the personal benefit of the public official and
      cannot include campaign contributions.

      [cited in JM 9-85.101]

      ‹ 2040. Bank Records And Foreign Transactions --                        up             2042. Elements Common To Both Bribery And
      Financial Crimes Enforcement Network (FinCEN)                                                                 Gratuity Offenses ›
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        2042. ELEMENTS COMMON TO BOTH BRIBERY AND GRATUITY OFFENSES

     The crime of bribery (in violation of § 201(b)) and the crime of accepting a gratuity (in violation of § 201(c)) require proof
     of the same basic elements: In general terms, these are the following:

             1. 1. A public official;
                2. A thing of value;

               3. A request or receipt by the official, or an offer or promise to the official, of that thing of value;

               4. For the benefit of the official or (in the case of section 201(b) bribery) of some other person or entity);

               5. With the requisite connection to an official act;

               6. With the requisite intent.

     The differences between the two sections (§ 201(b) and § 201(c)) are found in the details of these common features.
     For purposes of comparison, the chart Criminal Resource Manual 2043 sets out the elements in parallel form, for the
     offenses of accepting a bribe and accepting a gratuity. This should be helpful in seeing exactly how the offenses differ
     and how they are similar. The differences are marked either by brackets (for features that are found in only one of the
     two sections) or by bold text (to highlight the key distinction in how the sections specify the required connection
     between the thing of value and the official act). The corresponding offenses of giving a bribe and giving a gratuity
     involve the same components, from the opposite perspective.

     [updated November 1998] [cited in JM 9-85.101]

     ‹ 2041. Bribery Of Public Officials                                  up         2043. Comparison Of The Elements Of The Crimes
                                                                                                           Of Bribery And Gratuities ›
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        2043. COMPARISON OF THE ELEMENTS OF THE CRIMES OF BRIBERY AND
        GRATUITIES

      The differences between the offense of bribery and the offense of accepting a gratuity are marked in the chart below
      either by brackets (for features that are found in only one of the two sections) or by UPPER CASE TEXT (to highlight
      the key distinction in how the sections specify the required connection between the thing of value and the official act).

                   § 201(b): Accepting a Bribe                             § 201(c): Accepting a Gratuity
       Status      Whoever, being a public official [ ] or person          Whoever, being a public a public official, [former public
                   selected to be a public official                        official], or person selected to be a public official
       Intent      CORRUPTLY                                               []
       Act         *[ ]                                                    * [otherwise than as provided by law for the proper
                   * directly or indirectly                                discharge of offical duty,]
                   * demands, seeks, receives, accepts, or                 * directly or indirectly
                   agrees to receive or accept                             * demands, seeks, receives, accepts, or agrees to receive
                                                                           or accept
       Thing       anything of value                                       anything of value
       For         PERSONALLY [OR FOR ANY OTHER                            PERSONALLY [ ]
       Whom        PERSON OR ENTITY]
       Purpose IN RETURN FOR:                                              FOR OR BECAUSE OF any official act performed or to be
               * being influenced in the performance of any                performed by such official or person.
               official act;
               * being influenced to commit or aid in
               committing any fraud on the U.S.; or
               * being induced to do or omit to do any act in
               violation of his or her official duties.

      [updated November 1998] [cited in Criminal Resource Manual 2042; Criminal Resource Manual 2045; JM 9-85.101]

      ‹ 2042. Elements Common To Both Bribery And                          up                                         2044. Particular Elements ›
      Gratuity Offenses
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        2044. PARTICULAR ELEMENTS

               "Public Official"

      The terms "public official" and "person who has been selected to be a public official" are defined in section 201(a).
      "Public official" includes any garden-variety Federal employee, regardless of the branch of government involved,
      employees of the District of Columbia, Members of Congress, and Federal jurors. The breadth of the definition should
      be noted, for it includes any "person acting for or on behalf of the United States, or any department, agency, or branch
      of government thereof, including the District of Columbia, in any official function, under or by authority of any such
      department, agency, or branch of government." 18 U.S.C. § 201(a)(1). The Supreme Court has liberally interpreted this
      language to include persons who are not Federal employees, but who have the power to allocate and expend Federal
      monies under grant programs. Dixson v. United States, 465 U.S. 482 (1984).

      PRACTICE TIP: Even if the broad definition of "public official" under § 201 cannot be met, a charge under 18 U.S.C.
      § 666 may nonetheless be appropriate if the solicitor or intended recipient of the bribe is a person who acts as an agent
      of an organization that receives in one year $10,000 or more in Federal grant, loan, contract, or insurance funds.

               "Thing of Value"

      The term "thing of value" is used throughout Title 18, and includes intangible as well as tangible things. See United
      States v. Girard, 601 F.2d 69, 71 (2d Cir.), cert. denied, 444 U.S. 871 (1979). It has been broadly construed to focus on
      the worth attached to the bribe by the defendant, rather than its commercial value. United States v. Williams, 704 F.2d
      603, 622-23 (2d Cir.), cert. denied, 464 U.S. 1007 (1983).

               "Official Act"

      "Official act" for the purposes of Section 201(b) and (c) is defined to mean:

               "Any decision or action on any question, matter, cause, suit, proceeding or controversy, which may at any
               time be pending, or which may by law be brought before any public official, in such official's official
               capacity, or in such official's place of trust or profit."

      18 U.S.C. § 201(a)(3). In order for an act to fall within this definition, it need not be specified by statute, rule, or
      regulation; established practice within the department is sufficient to prove official action. United States v. Birdsall, 233
      U.S. 223 (1914).

               Authority or Power to Do the Official Act

      It is not essential to a bribery charge against a public official that he or she have the authority to make a final decision
      on an official matter. When the advice and recommendation of the public official would be influential, a violation of
      Section 201(b) may be established. United States v. Heffler, 402 F.2d 924 (3d Cir. 1968), cert. denied, 394 U.S. 946
      (1969); Wilson v. United States, 230 F.2d 521 (4th Cir.), cert. denied, 351 U.S. 931 (1956); Krogmann v. United States,
      225 F.2d 220 (6th Cir. 1955).

      It is also possible in some circuits to convict either the giver or the taker of a bribe (or both) even if the public official
      does not have the power to bring about the result that prompted the bribe. It is sufficient as to a charge against the
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      public official that the public official represented that the official act in question was within his or her power, United
      States v. Arroyo, 581 F.2d 649 (7th Cir. 1978), cert. denied, 439 U.S. 1069 (1979); or as to the giver of the bribe that the
      giver believed the recipient had the power to bring about the desired result. United States v. Hsieh Hui Mei Chen, 754
      F.2d 817 (9th Cir.), cert. denied, 471 U.S. 1139 (1985); United States v. Gjieli, 717 F.2d 968 (6th Cir. 1983), cert. denied,
      465 U.S. 1101 (1984). If, however, the public official has no authority at all to act in the matter and his or her acts in
      response to the payment of a bribe are unauthorized and illegal, it has been held that the "official act" component is
      lacking. Blunden v. United States, 169 F.2d 991 (6th Cir. 1948). Such a case could nonetheless be charged as an effort
      to induce a public official to commit a fraud on the United States or to do an act in violation of official duty. United States
      v. Gjieli, supra.

              Intent

      Under section 201(b), the offender must have acted "corruptly." This is, properly speaking, the intent element of the
      offense. The word "corruptly" simply means "with a bad or evil purpose." It is also frequently defined to mean the same
      thing as "willfully," and thus to connote "specific intent." See, e.g., 1 Devitt & Blackmar, Federal Jury Practice and
      Instructions, §§ 14.03, 14.06, 34.08. A number of cases speak of section 201(b) as a specific intent crime; however, this
      reference is sometimes not to "intent" in the strict sense of criminal intent or mens rea, but to the purpose or reason for
      the act - namely, intent to influence or be influenced. The statute is a little confusing in this respect, since it does speak
      of the briber-giver acting "with intent to influence." That phrase refers, however, to what the briber expects to
      accomplish, not to his level of "criminal intent." Accordingly, take care to specify this clearly when communicating with a
      court about "intent" in bribery/gratuity cases.

      Section 201(c) lacks the word "corruptly" and has no corresponding specification of a particular level of criminal intent.
      Some courts seem to have taken the phrase "otherwise than as provided by law for the proper discharge of official
      duties" to be parallel to section 201(b)'s "corruptly," and therefore to be an intent provision. The Public Integrity Section
      does not believe this to be correct. The "otherwise than as provided by . . ." phrase simply ensures that authorized
      payments will be construed as illegal gratuities. Rather the intent requirement for section 201(c), lacking any other
      specification, is simply that the defendant acted "knowingly and purposefully" and not by mistake or inadvertence, as
      opposed to "corruptly" or willfully." United States v. Evans, 572 F.2d 455, 480-81 (5th Cir.), cert. denied, 439 U.S. 870
      (1978).

              Purpose: Causal Connection Between Payment and Act

      Section 201(b) requires that the offender have acted with the intent (as to the giver of a bribe) to influence or (as to the
      taker of a bribe) to be influenced. Thus, the bribery statute requires proof of an actual or intended quid pro quo: one
      thing given in exchange for another. It specifies a bargained-for exchange, like a contract. E.g., United States v. Strand,
      574 F.2d 993 (9th Cir. 1978); United States v. Brewster, 506 F.2d 62 (D.C. Cir. 1974). This requirement can be met by
      proof of a pattern of payments and official acts flowing between the giver and the taker of bribes. See United States v.
      Campbell, 684 F.2d 141 (D.C. Cir. 1982).

      This direct exchange of "quid pro quo" requirement is the factor that chiefly distinguishes bribery from the lesser
      offense, a gratuity violation. E.g., United States v. Hsieh Hui Mei Chen, supra. Under section 201(c), the thing of value
      must be given or received "for or because of any official act performed or to be performed" by the public official. This
      requirement under the gratuity statute has been interpreted not to require proof of a quid pro quo as for the bribery
      statute, but rather of a lesser connection between the payment and an official act. United States v. Niederberger, 580
      F.2d 63 (3d Cir.), cert. denied, 439 U.S. 980 (1978); United States v. Alessio, 528 F.2d 1079 (9th Cir.), cert. denied, 426
      U.S. 948 (1976); United States v. Brewster, 506 F.2d 62 (D.C. Cir. 1974). Indeed, under the most liberal interpretation of
      the gratuity statute, the link is really between the payment and the official position of the recipient. United States v.
      Evans, 572 F.2d 455 (5th Cir.), cert. denied, 439 U.S. 870 (1978). Under this interpretation, it is unnecessary to show
      that the payments were "earmarked for a particular matter then pending" before the public official and over which the
      public official had authority. Id. at 481. Thus, if the motivating factor for the payment is even "to keep [the public official]
      'happy,'" id., or to "create a better working atmosphere" with a public official, the payment can form the basis of a
      gratuity charge. United States v. Standefer, 452 F. Supp. 1178, 1183 (W.D. Pa. 1978), aff'd, 610 F.2d 1076 (3d Cir.
      1979), aff'd, 447 U.S. 10 (1980); United States v. Niederberger; United States v. Barash, 412 F.2d 26 (2d Cir.), cert.
      denied, 396 U.S. 832 (1969).


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      PRACTICE TIP: There must be some connection between the receipt of the thing of value and the official position of
      the public official. In United States v. Muntain, 610 F.2d 964 (D.C. Cir. 1979), the court held the proof insufficient to
      establish a gratuity charge when the defendant public official accepted commissions from a private company to steer
      business to that company. The official's efforts to profit from his contacts as a government official with potential
      customers of the company were held not to constitute a gratuity violation because these acts were "totally unrelated to
      his official duties." 610 F.2d at 970.

      An aphorism sometimes used to sum up the distinction between a bribe and a gratuity is that a bribe says "please" and
      a gratuity says "thank you." Remember, though, that a gratuity can precede the official action that prompted it, as the "to
      be performed" language in the statute attests. Such pre-act "gratuities" are customarily made for a generalized purpose
      to "curry official favor" with the recipient. Another way of looking at it is that a bribe purchases a service (or at least is
      intended to do so) and is therefore bargained-for; a gratuity is more in the nature of a tip (hence the name) because it is
      not bargained-for.

      This is easy to say, but not so easy to see. Suppose, for example, there is a contract proposal pending before a
      Government contracting officer, and the prospective contractor takes the contracting officer on an all-expense paid
      cruise the week before the contract is to be awarded. Assuming that the prospective contractor and the contracting
      officer do not otherwise know each other, this looks suspiciously like a bribe or a gratuity. But which? Absent direct
      evidence of an agreement between the prospective contractor and the contracting officer, the answer will probably
      depend on such factual circumstances as the following:

              Did the prospective contractor get the contract?
                     Did the contracting officer have the power to decide who received the contract? If not, what role did the
                     contracting officer play in making the decision?
                     What is the value of the cruise?
                     How much competition did the prospective contractor have?
                     How qualified was the prospective contractor to get the contract? How did the contractor rank in relation
                     to the competitors?
                     How important financially or otherwise was the contract to the prospective contractor?
                     How important was the cruise to the contracting officer?
                     Are there contemporaneous admissions from either the contracting officer or the prospective contractor or
                     both regarding the purpose of the cruise?

      Absent good proof of incriminating admissions, or the lack of qualifications of the prospective contractor, or the
      essential nature of the contract to the business of the prospective contractor, this scenario will likely end up charged as
      a gratuity. However, the addition of one or more of the above facts may convince a jury that the intent of the donor was
      to influence official action, or that the intent of the donee was to be influenced, and thus sustain a bribery charge.

      [cited in JM 9-85.101]

      ‹ 2043. Comparison Of The Elements Of The Crimes                     up                             2045. U.S. V. Brewster ›
      Of Bribery And Gratuities
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        2045. U.S. V. BREWSTER

      COMMENT: The Federal offenses of "bribery" and "gratuities" described in 18 U.S.C. § 201, and the differences
      between them, were first--and perhaps best--described in the landmark case of United States v. Brewster, 506 F.2d. 62
      (D.C. Cir. 1974). This comment will discuss this significant decision.

      Brewster concerned payments made by a lobbyist to a United States Senator for the alleged purpose of corruptly
      influencing the performance of the Senator's official duties. The payments in question were made to the Senator in the
      form of "political contributions" to a political committee that allegedly had been established to support the Senator's re-
      election. The prosecution's position was that this committee was a sham, and that the payments were either "bribes," or
      illegal corrupt personal gifts to the Senator--i.e., "gratuities."

      The district judge had attempted to instruct the jury on the elements of the two related Federal crimes of receiving
      "bribes" and receiving illegal "gratuities." The district judge also attempted to instruct the jury on the difference between
      these two crimes and the receipt of legal "political contributions." The jury then convicted the Senator of receiving
      "illegal gratuities."

      However, the district judge's instructions were not very precise. This required the D.C. Circuit Court of Appeals to define
      the three critical concepts of illegal "bribery," receiving illegal "gratuities," and receiving legal "political contributions."
      The Court of Appeals then had to determine whether the district judge's jury instructions had adequately incorporated
      these distinctions.

      The D.C. Circuit Court's decision held that the Federal crime of bribery requires that there have been an express
      corrupt understanding between the private donor and the public officer donee that the donee will perform specific official
      acts in exchange for the payment (called a quid pro quo). If that condition is present, the crime of "bribery" is complete
      regardless of whether the corpus of the payment went directly to the donee, or whether the corpus went instead to a
      "third party" such as a bona fide political committee.

      The Court then held that the less serious Federal crime of receiving "illegal gratuities," which is also addressed by 18
      U.S.C. § 201, does not require proof that a specific understanding existed between the public and the private parties
      concerning the corrupt "sale" of an official act (i.e., a quid pro quo). Rather, the Court held that this lesser offense is
      complete if the prosecution proved that the following three factors were present: 1. the public officer was not entitled to
      receive the gift by virtue of the office (s)he held; 2. the motive for the gift was either to thank the official for a past act, or
      to curry general favor with the public officer in the expectation that the public officer will be better disposed to
      performing official acts favorable to the donor in the future; and 3. the public officer was aware of this motive when (s)he
      accepted the gift. However, for such gifts to be "gratuity" crimes under § 201, the Court held that there must be proof
      that the corpus of the gift inured to the personal benefit of the public officer donee.

      Finally, the Brewster Court differentiated both of these crimes from the act of receiving lawful political contributions. It
      held that genuine political contributions made to bona fide political committees representing elected Federal public
      officers do not violate either the "bribery" or the "graft" offenses described in § 201. This is because such contributions
      are not made as part of a quid pro quo agreement with the public officer, and because a bona fide political committee--
      rather than the public officer--is the true beneficial recipient of the gift.



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      The Brewster case had a companion: United States v. Anderson, 509 F.2d 312 (D.C. Cir. 1974). Anderson involved the
      prosecution of the lobbyist who had sought to corrupt Senator Brewster. In Anderson, the jury had convicted the
      lobbyist of bribery, finding that he had expected a specific act in exchange for the money he had given to the Senator's
      campaign committee. The D.C.Circuit upheld this verdict, notwithstanding that the jury in Brewster had convicted the
      Senator only of the less serious offense of receiving a gratuity. This companion case highlights the fact that the offense
      of gratuities can be--and often is--a lesser included offense within the offense of bribery, and that the two parties to a
      corrupt transaction may act with differing levels of corrupt intent, allowing properly instructed juries to convict one party
      to a corrupt transaction of the crime of bribery, while convicting the other party of the lesser offense of gratuities.

      AUSAs are encouraged to read and familiarize themselves with these two critically important companion cases before
      initiating a bribery or a gratuities case under 18 U.S.C. § 201.

      PRACTICE TIP: As explained in Brewster and Anderson, and as demonstrated in the chart in this Manual at 2043, the
      offense of soliciting, giving, accepting and receiving a gratuity is a lesser included offense within the greater crime of
      soliciting, giving, accepting or receiving a bribe.

      [cited in JM 9-85.101]

      ‹ 2044. Particular Elements                                          up                                 2046. Other Issues ›
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        2046. OTHER ISSUES

               Bribery and Conspiracy

      Wharton's Rule does not preclude a charge under 18 U.S.C. § 371 of conspiring to commit bribery. For one thing, the
      agreement may involve more participants than were necessary for the commission of the substantive offense. See,
      e.g., United States v. Benter, 457 F.2d 1174 (2d Cir.), cert. denied, 407 U.S. 842 (1972). Moreover, the Rule has been
      held not to apply in any event because the gratuity provision (in this particular case, but the observation is also true of
      the bribery provisions) does not require the culpable participation of two persons. United States v. Previte, 648 F.2d 73
      (1st Cir. 1981).

               Coercion

      Economic coercion is a factor that bears on the existence of specific intent under the bribery provisions. United States
      v. Barash, 365 F.2d 395 (2d Cir. 1966). It is irrelevant to a gratuity charge. United States v. Barash, 412 F.2d 26 (2d
      Cir.), cert. denied, 396 U.S. 832 (1969).

               Knowledge of Federal Status

      It is not necessary to prove that the offender knew he was paying a Federal official. Although the Government must
      prove that the payee was a Federal official and that the offender believed the person he attempted to bribe had official
      authority to act in a particular matter, it is not necessary to prove that the offender believed the official was exercising
      Federal authority. United States v. Jennings, 471 F.2d 1310 (2d Cir.), cert. denied, 411 U.S. 935 (1973) (FBI agents
      posing as local police officers bribed by defendant, who did not know they were Federal officials).

               Campaign Contributions

      A bribery charge can be premised on a campaign contribution. But be careful. It is problematical that a gratuity charge
      under 201(c) can rest on a bona fide campaign contribution, unless the contribution was a ruse that masqueraded for a
      gift to the personal benefit of the public officer as was the case in Brewster, supra. This is because campaign
      contributions represent a necessary feature of the American political process, they normally inure to the benefit of a
      campaign committee rather than directly to the personal benefit of a public officer, and they are almost always given
      and received with a generalized expectation of currying favor with the candidate benefitting therefrom. For these
      reasons, recent Federal jurisprudence on the subject suggests substantial judicial reluctance to extend the Federal
      crime of gratuities under section 201(c) to bona fide campaign donations.

      PRACTICE TIP: Where the transaction represents a bona fide campaign contribution, prosecutors must normally be
      prepared to prove that it involved a quid pro quo understanding and thereby constituted a "bribe" offense actionable
      under section 201(b).

      COMMENT: This same distinction between bribes, gratuities and lawful campaign contributions has recently been
      applied to some of the Federal prosecutive theories that are currently used to address bribery and corruption by state
      and local public officials. For example, in McCormick v. United States, 500 U.S. 257 (1991) the Supreme Court held that
      the Hobbs Act (18 U.S.C. § 1951) did not apply to a series of campaign contributions that were made with a general
      intent to curry favor with a state senator and to thank him for his support. Noting that campaign contributions are a

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      necessary part of the American political process, the Court held that when an allegedly corrupt payment represents a
      bona fide campaign contribution, the prosecution must prove the existence of a quid pro quo. This principle was
      thereafter affirmed shortly thereafter in Evans v. United States, 504 U.S. 255 (1992).

              The Speech and Debate Clause

      The Federal offenses of bribery and gratuities apply to payments made in consideration for, or to thank or curry favor
      with, Members of Congress and their legislative staffs. However, where an official of the Legislative Branch is the
      intended recipient, the task of proving the "official act" element can present prosecutors with unique challenges rooted
      in the Speech and Debate Clause of the U.S..Constitution. U.S. Constit. Art I, sec 6, cl 1.

      The Speech and Debate Clause provides the "legislative acts" of a Senator or a Representative "shall not be
      questioned in any place." It applies in criminal as well as civil litigation involving the Senator or Representative, and
      provides absolute immunity to United States Senators and Representatives while they are engaged in legislative acts.
      United States v. Brewster, 408 U.S. 501 (1972); United States v. Helstoski, 442 U.S. 477 (1976). Its purpose is to
      assure the Congress a wide and unfettered latitude of freedom of speech in the deliberative process surrounding
      enacting legislation, and to shield that process from potential intimidation from the Executive and Judicial Branches.
      Gravel v. United States, 408 U.S. 606 (1972); Powell v. McCormick, 395 U.S. 486 (1969).

      While the Speech and Debate Clause has been expressly held not to shield Senators or Representatives against
      bribery charges, Johnson v. United States, 383 U.S. 169 (1964), it does impose significant limits on the type of
      evidence that can be used to prove such an offense. The Clause broadly protects members of Congress "against
      inquiry into acts that occur in the regular course of the legislative process and into the motivation for those acts," United
      States v. Brewster, 408 U.S. 501, 525 (1972), and "precludes any showing of how [a member of Congress], acted,
      voted, or decided." Id. at 527. The Supreme Court has declared that "past legislative acts of a Member cannot be
      admitted without undermining the values protected by the Clause," including speeches in committee as well as those on
      the Floor of the Chamber, the Senator or Representative's votes, and his or her explanations for them. A somewhat
      wider latitude has been allowed insofar as the admissibility of activities that took place occurred prior to a legislative act.
      United States v. Helstoski, 442 U.S. 477, 489 (1979). However, the parameters of what constitutes a "legislative act"
      are quite broad, and can severely impair the ability of prosecutors to prove bribery and gratuity cases where the
      recipient is an elected Member of the Legislative Branch.

      When evidence embraced by this privilege is introduced--either in trial or in grand jury proceedings--the effect can be as
      troubling to the prosecution as introducing the fruits of an illegal search. See United States v. Durenburger, 1993 WL
      738477 (D.Minn 1993); Helstoski, supra; compare Johnson.

      In addition, both the House and the Senate consider that the Speech and Debate Clause gives them an institutional
      right to refuse requests for information that originate in the Executive or the Judicial Branches that concern the
      legislative process. Thus, most requests for information and testimony dealing with the legislative process must be
      presented to the Chamber affected, and that Chamber permitted to vote on whether or not to produce the information
      sought. This applies to grand jury subpoenas, and to requests that seek testimony as well as documents. The
      customary practice when seeking information from the Legislative Branch which is not voluntarily forthcoming from a
      Senator or Member is to route the request through the Clerk of the House or the Secretary of the Senate. This process
      can be time-consuming. However, bona fide requests for information bearing on ongoing criminal inquiries have been
      rarely refused.

      PRACTICE TIP: The Public Integrity Section of Criminal Division has significant expertise in addressing and
      overcoming Speech and Debate issues. Prosecutors are encouraged to contact Public Integrity when the official acts of
      an elected Member of the Legislative Branch become the focus of a criminal inquiry. Public Integrity can be reached at
      (202) 514-1412 (phone) or (202) 514-3003 (fax).

              Included offenses

      The offense of soliciting, giving, accepting and receiving a gratuity is a lesser included offense within the greater crime
      of soliciting, giving, accepting or receiving a bribe. See United States v. Brewster, 506 F.2d 62 (D.C. Cir. 1974); and
      United States v. Anderson, 509 F.2d 312 (D.C. Cir. 1974).

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      [cited in JM 9-85.101]

      ‹ 2045. U.S. V. Brewster                                             up        2047. Sample Charging Language ›
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       2047. SAMPLE CHARGING LANGUAGE

     INDICTMENT

     Giving a Bribe (18 U.S.C. § 201(b)(1)):

     "Beginning on or about (date) , and continuing thereafter through on or about (date) , in the District of (venue) , (name
     of defendant) , the defendant herein, did directly and indirectly, corruptly give, offer and promise a thing of value, that is
     (description of corpus of the bribe) to (name of recipient) , a public official, that is (recipient's job title or position) , with
     the intent to influence official acts, that is (description of official act defendant sought to be influence) , in violation of
     Section 201(b)(1) of Title 18, United States Code."

     Receiving a Bribe (18 U.S.C. § 201(b)(2)):

     "Beginning on or about (date) , and continuing thereafter through on or about (date) , in the District of (venue) , (name
     of defendant) , the defendant herein, being a public official, that is (defendant's job title or position) , did directly and
     indirectly corruptly demand, seek, receive, accept, and agree to receive and accept something of value, that is
     (description of the corpus of the bribe) , with the intent of being influenced in the performance of official acts, that is
     (description of official act influenced by bribe) , in violation of Section 201(b)(2) of Title 18, United States Code.

     Giving a Gratuity (18 U.S.C. 201(c)(1)):

     "Beginning on or about (date) , and continuing thereafter through on or about (date) , in the District of (venue) , (name
     of defendant) , the defendant herein, did directly and indirectly give, offer and promise a thing of value, that is
     (description of corpus of the gratuity) to (name of recipient), a public official, that is (recipient's title or job) , otherwise
     than provided for by law for the proper discharge of his/her official duties for and because of official acts performed or to
     be performed by the said (name of recipient) , that is (describe official act which gratuity sought to influence or reward) ,
     in violation of Section 201(c)(1) of Title 18, United States Code.

     Receiving a Gratuity (18 U.S.C. § 201(c)(2)):

     "Beginning on or about (date) , and continuing thereafter through on or about (date) , in the District of (venue) , (name
     of defendant) , the defendant herein, being a public official, that is (defendant's job title or position) , otherwise than as
     provided for by law for the proper discharge of his/her official duties, did directly and indirectly demand, seek, receive,
     accept, and agree to receive and accept, something of value, that is (description of corpus of the gratuity) , for or
     because of an official act performed or to be performed by the said defendant, that is (description of official act for
     which the gratuity was made) , in violation of Section 201(c)(2) of Title 18, United States Code.

     [cited in JM 9-85.101]

     ‹ 2046. Other Issues                                                 up      2048. January 23, 1992, Memorandum Directing U.S.
                                                                                   Attys To Designate A Prosecutor As An International
                                                                                                   And National Security Coordinator ›
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8
     Attorneys for Applicant
9    UNITED STATES OF AMERICA
10                             UNITED STATES DISTRICT COURT
11                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   Information stored within the                Case No. 2:22-MJ-1530
     iCloud Account associated with
13   DSID/Apple Account Number                    GOVERNMENT’S OPPOSITION TO
     1338547227 and/or email address              MOTION TO PARTIALLY UNSEAL
14   rickscafedxb@yahoo.com at Apple              THE DOCKET; DECLARATION OF DANIEL
     Inc., One Apple Parkway,                     J. O’BRIEN
15   Cupertino, CA 95014
                                                  (UNDER SEAL)
16

17
           The government files this opposition to the Motion to Partially
18
     Unseal the Docket filed by Richard Gustave Olson, Jr.                 This
19
     opposition is based upon the attached declaration of Daniel J.
20
     O’Brien and the records and files in this case.
21
           The Movant does not have a right to access the materials he
22
     seeks.    The Ninth Circuit has held that neither the First Amendment
23
     nor common law establishes a qualified right of access to search
24
     warrant proceedings and materials where, as here, a criminal
25
     investigation is ongoing.         Times Mirror Co. v. United States, 873
26
     F.2d 1210, 1216 (9th Cir. 1989).
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1          In discussing the need for secrecy in grand jury proceedings,

2    the Supreme Court has listed several concerns that weigh in favor of

3    preserving the proceedings’ secrecy:

4          [I]f preindictment proceedings were made public, many
           prospective witnesses would be hesitant to come forward
5          voluntarily, knowing that those against whom they testify
           would be aware of that testimony. Moreover, witnesses who
6
           appeared before the grand jury would be less likely to testify
7          fully and frankly, as they would be open to retribution as
           well as to inducements. There also would be the risk that
8          those about to be indicted would flee, or would try to
           influence individual grand jurors to vote against indictment.
9
           Id. (quoting Douglas Oil Co. of California v. Petrol Stops Nw.,
10
     441 U.S. 211, 219 (1979)).         These concerns apply with equal force
11
     here.    Contra United States v. Kott, 135 F. App’x 69, 71 (9th Cir.
12
     2005) (ordering records unsealed because investigation had been
13
     completed, concluding, “the justification for keeping the materials
14
     sealed has now fallen away”).
15
           Finally, because the search warrant at issue was obtained
16
     pursuant to the Electronic Communications Privacy Act of 1986 (ECPA),
17
     none of the Movant’s physical property was seized, so unsealing the
18
     records would not enable him to seek the return of property under
19
     Federal Rule of Criminal Procedure 41(g).             Contra In re Searches &
20
     Seizures, No. 08-SW-0361 DAD, 2008 WL 5411772, at *2 (E.D. Cal. Dec.
21
     19, 2008) (considering movant’s need to recover physical property as
22
     an argument in favor of unsealing search warrant materials).
23
           Because the law does not grant movant a right of access to the
24
     sealed materials, his motion should be denied.
25

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1     Dated: October 20, 2022                 Respectfully submitted,

2                                             E. MARTIN ESTRADA
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3
                                              SCOTT M. GARRINGER
4                                             Assistant United States Attorney
                                              Chief, Criminal Division
5

6                                                /s/ Daniel J. O’Brien
                                              DANIEL J. O’BRIEN
7                                             Assistant United States Attorney

8                                             Attorneys for Applicant
                                              UNITED STATES OF AMERICA
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1                           DECLARATION OF DANIEL J. O’BRIEN

2          I, Daniel J. O’Brien, declare as follows:

3          1.    I am an Assistant United States Attorney for United States

4    Attorney’s Office for the Central District of California.                  I am the

5    attorney responsible for handling the search warrant application in

6    this matter and the investigation that spawned it.                The search

7    warrant application was one of three search warrants obtained by the

8    government pursuant to the same affidavit.              My co-counsel in the

9    investigation is Evan Turgeon, a trial attorney for the Department of
10   Justice’s National Security Division in Washington, D.C.
11         2.    Movant Richard Gustave Olson, Jr. (“Olson”) is the
12   defendant charged in United States v. Olson, CR 22-104-PA, with two
13   offenses.     One of the charges, a violation of aiding or advising a
14   foreign government in violation of Title 18, United States Code,
15   Section 207(f), related to the investigation referenced above.                   On
16   April 7, 2022, the government and the defendant agreed to transfer
17   the matter to the District Court for the District of Columbia
18   pursuant to Rule 20 for a change of plea and sentencing.                 Counsel of

19   record for the government in the transferred case, case number 22-CR-

20   144-GMH, are Mr. Turgeon and Assistant United States Attorney Stuart

21   Allen.     On June 3, 2022, Olson pleaded guilty to the two charged

22   offenses.     Sentencing is currently scheduled for November 29, 2022,

23   before Magistrate Judge G. Michael Harvey.

24         3.    Olson is also the subscriber of the iCloud account

25   rickscafedxb@yahoo.com, which was the subject of the search warrant

26   in this matter.      On September 27, 2022, the court granted the

27   application by Olson’s counsel to appear as a non-resident attorney

28   in this matter.
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1          4.    The search warrant application (Dkt 1, ¶¶ 147-153) sets

2    forth the justification for withholding the search warrant

3    application and related documents from Olson, the subscriber.

4          5.    The sealing application (Dkt 4, Declaration ¶¶ 3-6) sets

5    forth a detailed justification for sealing the search warrant

6    application and related documents.

7          6.    The circumstances identified in the sealing application

8    have not changed, and the criminal investigation remains ongoing as

9    to other individuals.        Thus, the government has not moved to unseal
10   the search warrant application and related documents and opposes
11   Olson’s motion to unseal.
12         7.    I declare under penalty of perjury under the laws of the
13   United States that the foregoing is true and correct to the best of
14   my knowledge and belief.
15   DATED: October 20, 2022
16                                                            /s/
17                                                   DANIEL J. O’BRIEN
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           EXHIBIT E
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